UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                                          Case No.: 2−17−21044−PRW
                                                                                Chapter: 7
         Colleen Anne Van Epps
         Richard Alan Van Epps                                                  SSN: xxx−xx−6716
                        Debtor(s)                                               SSN: xxx−xx−5767



                                                     DEFICIENCY NOTICE
PLEASE TAKE NOTICE that the following document(s) contains deficiencies:

Docket # 23 − Motion to Reopen Chapter 7 to file a Motion to Avoid Judgment Liens. Filing Fee $ 260.
            (Attachments: # 1 Affidavit Motion to Reopen # 2 Proposed Order # 3 Exhibit Exhibit A: Proposed
            Motion to Avoid Liens # 4 Certificate of Service) Filed on behalf of Joint Debtor Richard Alan Van Epps
            (Furlano, Michael)

MISSING OR INCOMPLETE:
[   ]    Amendment is missing: [ ] Cover Sheet; [ ] Certificate of Service; [ ] Amended Summary of Assets & Liabilities
          [ ] To e−file, use: Bankruptcy > Other > Amendment to Schedules and/or Statements Already Filed.
          [ ] To e−file, use: Bankruptcy > Other > Cover Sheet.     [ ] To e−file, use: Bankruptcy > Other > Certificate of Service.
[   ]    Signature or Electronic Equivalent is missing from
[   ]    Chapter 13 Plan (Official Form 113): [ ] is missing the Debtor's signature; [ ] is missing the Attorney's signature;
         [ ] is missing the Exhibit: Total Amount of Estimated Trustee Payments; [ ] Current Version of Official Form 113 must be
         used, see Notice to Attorneys 17−02. Certificate of Service of the plan does not include [ ] all creditors; [ ] complete
         mailing addresses; [ ] method of service. File a new Certificate of Service indicating proper service.
[   ]    The Debtor name(s) on the pdf does not coincide with the case number.
[   ]    Cover Sheet: To e−file, use: Bankruptcy > Other > Cover Sheet and link back to the original document. Click here for NYW
         Cover Sheets.
[   ]    Notice of Motion: [ ] Incorrect Hearing Date; [ ] Incorrect Hearing Time; [             ] Incorrect Hearing Location.
         Please consult the Court's website for available hearing dates. Click here.
[   ]    Notice of Motion: . Please consult the Court's website for available hearing dates. Click here.
[   ]    Certificate of service To e−file, use: Bankruptcy > Other > Certificate of Service and link back to the original document.
[X]      Certificate of service. Please note that service on some or all of the parties on the recipient list may not be in compliance with the
         Federal Rules of Bankruptcy Procedure. To e−file, use: Bankruptcy > Other > Certificate of Service and link back to the
         original document. The Clerk's office cannot give legal advice.
[   ]    The required Supplement to Official Form 103B is missing. Click here for Supplement.
[   ]    Official Form 423 is missing. Without a completed Form 423 AND certificate number, this case will be closed without the entry of
         a discharge order. To e−file, use: Bankruptcy > Other > Financial Management Course.
[   ]    Proposed Order
[X]      Other: Please refer to In re Christensen, 2015 Bankr. Lexis 3506, regarding the filing requirements when the purpose for reopening
         is to file a motion to avoid lien. The entire proposed motion for substantive relief must be attached, including filing a 522(f) cover
         sheet.
ADDITIONAL INFORMATION: Motion Practice and Hearing Scheduling Guidelines can be found on the
                        Court's website at: www.nywb.uscourts.gov. Click here.
[X]     This motion WILL NOT be considered by the Court.
[X]     To e−file, use: Bankruptcy/Adversary > Motions > AMENDED MOTION. Link the Amended Motion to the original motion.
[   ]   To e−file, use: Bankruptcy >

    Date: October 9, 2020                                 Lisa Bertino Beaser, Clerk of the Bankruptcy Court
                                                          By: A. Andrews, Deputy Clerk
Form defygen/Doc 25
www.nywb.uscourts.gov




            Case 2-17-21044-PRW, Doc 25, Filed 10/09/20, Entered 10/09/20 14:04:27,
                            Description: Deficiency Generic, Page 1 of 1
